Case 6:23-cv-00034-NKM Document 13 Filed 11/16/23 Pagelofi Pageid#: 56

AFFIDAVIT OF SERVICE

United States District Court For The , Western District Of Virginia

Case #: 6 23 CV 34
Plaintiff: Carrie N Thomas (Aka: Jocelyn R.), Pro Se
Defendant: Department Of Defense

I certify that I served Department Of Defense (Serve On: Ronald Freels,
Division Chief, Adjudications Directorate) at 12:50 pm on 11-13-2023, at
Department Of Defense - consolidated adjudications facility (dod caf) 10th
St, building 600, Fort Meade, MD 20755 a copy of the following documents
with all supporting papers issued on: 10-12-2023.

Summons In A Civil Action, Complaint, Civil Cover Sheet, Exhibits

which were previously filed with this Court. Attached is a copy of the
first page of the summons with the captioned case information,

The person I left the papers with acknowledged being: (1) At the above work
address; (2) of suitable discretion in that the relationship to the
defendant is: Authorized Agent To Accept Service Of Process and that; (3)
the above listed is the defendant's work location.

The description of this person is: Black, Male, 5-11 to 6-2, 200-230 lbs,
57 yrs, ,

I Have Effected Personal Service Upon The Individual Named Above At The
Address Listed Above,

I certify that I am over eighteen (18) years of age and that I am not the
plaintiff or the defendant. I solemnly affirm, on this 13th day of
November, 2023, under the penalties of perjury that the contents of the
foregoing paper are true to the best of my knowledge, information and
belief.

C4 Le

Dotto D. Maliéngo (**Z) Defhotline@legalpapers.Net ( DOB: 06-
21-1976 ) / Our File#: 505470

Legal Papers, Inc. 908 York Road, 2nd floor, Towson, MD 21204 (410) 823-4444

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Sub soubed) Suyoun by (ne om }\-13-2023

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